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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
ALI ALEXANDER, et al.,              )
                                    )
                  Plaintiffs,       )
                                    )
            v.                      )  Civil Action No. 21-03308 (CJN)
                                    )
NANCY PELOSI, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )

 PLAINTIFFS’ CONSENT TO CONGRESSIONAL DEFENDANTS’ MOTION TO
                   EXTEND TIME TO RESPOND

        Plaintiffs Ali Alexander, et al., consent to the Congressional Defendants’ Motion to

Extend Time to Respond (ECF 26) to July 12, 2022.

Dated: July 1, 2022                              Respectfully submitted,
                                                 /s/ Paul D. Kamenar
                                                 Paul D. Kamenar, D.C. Bar #914200
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                                                 Attorney for Plaintiffs


                                CERTIFICATE OF SERVICE

            I hereby certify that on July 1, 2022, I caused the foregoing document and

 Proposed Order to be filed via the CM/ECF system for the U.S. District Court for the

 District of Columbia, which I understand caused a copy to be served on all registered

 parties.

                                                 Respectfully submitted,
                                                 /s/ Paul D. Kamenar
